                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                CENTRAL DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                            Plaintiff,          )
                                                )
                     v.                         )            No. 14-4066-01-CR-C-BCW
                                                )
TITUS DANIEL GABOURY,                           )
                                                )
                            Defendant.          )


                            REPORT AND RECOMMENDATION
                             CONCERNING PLEA OF GUILTY

       The defendant, by consent, appeared before the undersigned on January 5, 2016 and
pursuant to Rule 11 of the Federal Rules of Criminal Procedure, Local Rule 72(c)(1)(j), and 28
U.S.C. § 636, has entered a plea of guilty to Counts 1, 2, 7-11 of the Indictment. After
cautioning and examining Defendant, under oath, in accordance with the requirements of Rule
11, it was determined that the guilty plea was knowledgeable and voluntary, and that the offenses
to which Defendant has plead guilty is supported by a factual basis for each of the essential
elements of the offense.
       IT IS, THEREFORE, RECOMMENDED that the plea of guilty be accepted and that the
defendant be adjudged guilty and have sentence imposed accordingly.
       Failure to file written objections to this Report and Recommendation within fourteen (14)
days from the date of its filing will bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).



                                              Matt J. Whitworth
                                             MATT J. WHITWORTH
                                             United States Magistrate Judge
January 5, 2016
Jefferson City, Missouri




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